Case 3:16-cr-00411-VC Document 116-17 Filed 09/19/17 Page 1 of 2




                   Exhibit 17
                                Case 3:16-cr-00411-VC Document 116-17 Filed 09/19/17 Page 2 of 2
(22825 unread) - naummorgovsky@yahoo.com - Yahoo Mail                                                                                                      8/22/17, 3)25 PM


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                                        All     Naum Morgovsky, search your mailbox                            Search Mail        Search Web        Home         N



                                    Re: QuoteRe:
                                               for Quote
                                                   elements
                                                        Re:
                                                         for 100mm
                                                             elements
                                                                  Re: 100mm
                                                                          Re: 9/19/12
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                                                                                                                             Re: Update
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                                                                                                                                                         Re:      Re:

     Compose                                            Archive         Move           Delete      More


  Inbox (9999+)                          Re:
  Drafts (228)

  Sent                                   Naum Morgovsky <naummorgovsky@yahoo.com>                                     10/14/12 at 10:25 PM
                                         To Devin Standard
  Archive

  Spam (42)                              Hi Devin,
                                         As long as they are not larger than the existing ones size-wise and see well enough, I am open to
  Trash
                                         suggestions. For example, the design of the attached ones is unacceptable because the focusing
  Smart Views                            is achieved by moving the entire lens assembly, but they are not ITAR-restricted, acceptable
    Important                            quality-wise, and inexpensive, so something similar but with focusing done by moving only the
                                         rear lens would work for us.
    Unread
                                         Best, Naum
    Starred
    People
                                         From: Devin Standard <Devin.Standard@Janostech.com>
    Social
                                         To: Naum Morgovsky <naummorgovsky@yahoo.com>
    Shopping                             Cc: Jonathan Hildrey <jhildrey@Janostech.com>
    Travel                               Sent: Friday, October 12, 2012 1:36 PM
    Finance                              Subject: RE:
    silverman
                                         Hi Naum:
    mseymour
                                                  A) These curves represent the 100mm lenses we will produce at the current price point.
    bartfield                                     B) What would the specs be for the Euro lenses? We would certainly be interested in
    montgomery                                    quoDng them for you.
    seymour                              Talk to you soon.
                                         Devin
    rosas
    cheo                                 Devin S. Standard
  Folders                                Senior Account Manager
                                         Janos Technology
    Drafts
                                         The Power of Focus
    Notes                                WWW.JanosTech.com
    Sent Messages                        Devin.Standard@Janostech.com
    untitled                             (603) 313-2502

  Sponsored


                                         From: Naum Morgovsky [mailto:naummorgovsky@yahoo.com]
                                         Sent: Friday, October 12, 2012 3:58 PM
                                         To: Devin Standard
                                         Subject: Re:
  HowStuﬀWorks.com
  US Military Ships Quiz: How
  Many Can You Identify?
                                         Hi Devin,
                                         Before we look into this, which is likely to require some quality concessions, I need to know
                                         what cost benefit these concessions will produce. Also, we would like to sell some types of
                                         thermal cameras in Europe and would like to know if your company is interested in supplying
                                         non-ITAR lenses for them, otherwise I will have them designed and then made for us in China
                                         or Singapore.
                                         Best wishes, Naum



                                         From: Devin Standard <Devin.Standard@Janostech.com>
                                         To: Naum Morgovsky <naummorgovsky@yahoo.com>
                                         Sent: Friday, October 12, 2012 8:26 AM
                                         Subject:

                                         Hi Naum:
   Try the new Yahoo Mail


https://mg.mail.yahoo.com/neo/launch?.rand=bfv46471ca0e4#2047175888                                                                                             Page 1 of 1
